                                                                      SO ORDERED.

                                                                      Dated: November 24, 2020


 1

 2
                                                                      Eddward P. Ballinger Jr., Bankruptcy Judge
 3
                                                                      _________________________________
 4

 5

 6

 7
                             THE UNITED STATES BANKRUPTCY COURT
 8
                                  FOR THE DISTRICT OF ARIZONA
 9

10

11   In re                                            CHAPTER 13
12   MATTHEW DEREK MANGINO,
13                                                    CASE NO. 2-20-BK-04640-EPB

14                                                    STIPULATED ORDER CONFIRMING
                                Debtor.               CHAPTER 13 PLAN
15

16          The Chapter 13 Plan having been properly noticed out to creditors and any objection to
17   confirmation having been resolved,

18
             IT IS ORDERED confirming the Plan of the Debtors as follows:
19

20         (A) INCOME SUBMITTED TO THE PLAN. Debtors shall submit the following
     amounts of future income to the Trustee for distribution under the Plan.
21

22           (1) Future Earnings or Income. Debtors shall make the following monthly Plan payments:
23
                    Months                Amount
24
                    1‐4                   $1,308.00
25                  5-60                  $1,386.00
26

27                                                 -1-
                                                                                        In re: Mangino
28                                                                     Case No. 2-20-BK-04640-EPB




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 1           The payments are due on or before the 3rd day of each month commencing June 3, 2020.
 2   Debtors are advised that when payments are remitted late, additional interest may accrue on
     secured debts which may result in a funding shortfall at the end of the Plan term. Any funding
 3
     shortfall must be cured before the plan is deemed completed.
 4

 5           The Debtor shall provide to the 'HEWRU V$WWRUQH\copies of their federal and state income
     tax returns for post‐petition years 2020-2024 within 14 days of filing them.'HEWRU V$WWRUQH\
 6
     ZLOOSURPSWO\UHPLWWKHUHWXUQVWRWKH7UXVWHHXVLQJWKHZHEVLWHZZZGRFXPHQWVFRP
 7

 8          (2)Other Property. In the event that other property is submitted, it shall be treated as
     supplemental payments
 9

10           (B)DURATION. This Plan shall continue for 60 months from the first regular monthly
11   payment described in Paragraph (A)(1) above. If at any time before the end of the Plan period all
     claims are paid, then the Plan shall terminate. In no event will the term of the Plan be reduced to
12
     less than 60 months, exclusive of any property recovered by the Trustee, unless all allowed claims
13   are paid in full.
14
              (C)CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified
15
     as listed below. The Plan and this Order shall not constitute an informal proof of claim for any
16   creditor. This Order does not allow claims. Claims allowance is determined by § 502 and the
17   Federal Rules of Bankruptcy Procedure. The Trustee shall receive the percentage fee on the Plan
     payments pursuant to 28 U.S.C. § 586(e), then the Trustee will pay secured creditors or allowed
18
     claims in the following order:
19

20          (1) Administrative expenses:

21
               Attorney Fees. Tom McAvity, shall be allowed total compensation of $4,500. Counsel
22             received $50 prior to filing this case and will be paid $4,450 by the Chapter 13
23             Trustee.

24
            (2) Claims Secured by Real Property:
25

26              (a) Freedom Mortgage Corporation, secured by a first deed of trust in the Debtors’

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                                                                                             In re: Mangino
28                                                                         Case No. 2-20-BK-04640-EPB




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 1                residence, shall be paid the prepetition arrearage of $1,415.10 with 0% interest.
 2                Regular post‐petition payments will be made directly by the Debtors to the
                  secured creditor. Any post-petition mortgage fees and expenses shall be paid
 3
                  directly by the Debtors to the secured creditor.
 4

 5         (3) Claims Secured by Personal Property:

 6
             (a) American Honda Finance Corporation, secured by a lien in 2016 Honda Civic,
 7
                 shall be paid a secured claim of $11,671.28 with 6% interest. The creditor will
 8               receive adequate protection payments of $390 per month. The balance of the debt
 9               shall be classified as unsecured.
10

11         (4) Unsecured Priority Claims:

12
              (a) None.
13

14         (5) Surrendered Property:

15
              Upon confirmation of this plan or except as otherwise ordered by the Court,
16            bankruptcy stays are lifted as to collateral to be surrendered. Such creditor shall
17            receive no distribution until the creditor timely files a claim or an amended proof of
              claim that reflects any deficiency balance remaining on the claim. Assuming the
18
              creditor has an allowed proof of claim, should the creditor fail to file an amended
19            claim consistent with this provision, the Trustee need not make any distributions to
20            that creditor. Debtors surrender the following property:

21
              (a) None.
22

23         (6) Other Provisions: Rock Springs HOA will be paid $0.00 through the Plan. The Debtor
               will remit all post-petition HOA payments directly to the HOA.
24

25         (7) Unsecured Nonpriority Claims. Claims allowance is determined by § 502 and the
26             Federal Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro

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                                                                                        In re: Mangino
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